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                       UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
____________________________________

SIMBI KESIYI WABOTE,                :
      Plaintiff,                    :
                                    :
            v.                      :                       No. 5:21-cv-2214
                                    :
JACKSON UDE,                        :
      Defendant.                    :
____________________________________

                                           ORDER

       On March 8, 2022, this Court granted Plaintiff’s request for monetary sanctions against
Defendant and Defendant’s counsel, Mr. Amadi. See ECF No. 115. Specifically, the Court
ordered Defendant and Mr. Amadi to pay Plaintiff’s counsel $10,474.18 on or before June 30,
2022. See ECF No. 137. On the day of the deadline, Mr. Amadi asked the Court for a 60-day
extension to pay the monetary sanctions. The parties briefed the issue, and the Court heard oral
argument from both sides. The Court stayed a final decision on Mr. Amadi’s request for an
extension but ordered him to make a down payment to Plaintiff’s counsel as a sign of good faith
on or before July 18, 2022. Pursuant to the Court’s direction, Mr. Amadi paid $5,237.09 to
Plaintiff’s counsel.
       AND NOW, this 20th day of July 2022, upon consideration of the above, IT IS
HEREBY ORDERED AS FOLLOWS:
    1. Mr. Amadi shall pay Plaintiff’s counsel, Lewis & Lin LLC, the remainder of the
       monetary sanctions in the amount of $5,237.09 on or before August 12, 2022, pursuant
       to the Court’s March 8, 2022, Order 1, see ECF No. 115; and
    2. If the remainder of $5,237.09 is not paid in full by August 12, 2022 2, then any remaining
       amount owed will be converted into a judgment against Mr. Amadi, and the Court will




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        The Court considers Mr. Ude’s obligation to pay $1,047.42 of the sanctions to be
satisfied with the down payment, meaning the remainder is the full responsibility of Mr. Amadi.
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        Plaintiff’s counsel should notify the Court when the remainder is paid in full and inform
it of any outstanding amount that is not paid by August 12, 2022.
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consider the possibility of imposing the additional following sanctions against Benneth
Amadi:
           i. The Court will revoke Mr. Amadi’s pro hac vice status in any other
               matters he has before this Court until the judgment is satisfied;
           ii. Mr. Amadi will be prohibited from filing any cases in this district until the
               judgment is satisfied; and
          iii. the Court will contact the Massachusetts Bar to inform it of the
               outstanding judgment against Mr. Amadi and recommend that he be
               prohibited from filing any suits in the State of Massachusetts until the
               judgment is satisfied.


                                              BY THE COURT:


                                              /s/ Joseph F. Leeson, Jr._________
                                              JOSEPH F. LEESON, JR.
                                              United States District Judge




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